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                                                               Thursday, 01 March, 2018 06:09:37 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )        Crim. No. 17-20037
                                         )
BRENDT A. CHRISTENSEN,                   )
                                         )
      Defendant.                         )

             RESPONSE TO THE GOVERNMENT’S MOTION TO COMPEL
             THE DEFENDANT TO PRODUCE PALM PRINT EXEMPLARS

      Defendant Brendt A. Christensen, by counsel, submits that he has no objection to

Docket Number 70, the government’s Motion to Compel the Defendant to Produce

Palm Print Exemplars. He does request that any examination of the Defendant’s person

occur only in the presence of counsel, that all verbal instructions by the examiner be

directed through counsel, and that the examiner refrain from any conversation with the

Defendant.

                                  Respectfully submitted,

                                  BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                     /s/ George Taseff
      Assistant Federal Defender                  Assistant Federal Defender
      300 West Main Street                        401 Main Street, Suite 1500
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                              CERTIFICATE OF SERVICE

      I hereby certify that on March 1, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
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